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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff(s),                         )
                                              )
        v.                                    )       Case No. 4:19-cr-00613 SRC
                                              )
 HARRY JOHN HAMM,                             )
                                              )
        Defendant(s).                         )

                                       Scheduling Order

       On February 17, 2021, the parties appeared before the Court for a consolidated plea and

sentencing hearing. Doc. 65. Defendant Harry John Hamm withdrew his former plea of not

guilty and entered a plea of guilty as to Counts I, II, and III of the Indictment. Id. Hamm then

orally requested to continue the sentencing portion of the hearing. The Court granted Hamm’s

oral request to continue sentencing and sets the following schedule:

       By no later than Wednesday, February 24, 2021, Defendant Harry John Hamm must

file a brief supplementing his [64] Motion for Voluntary Surrender that details his position on

whether—1) his detention is mandatory; and 2) 18 U.S.C. §3143(a)(2) applies.

       By no later than Monday, March 1, 2021, the United States must file a response to

Hamm’s supplemental brief on detention that details its position on whether—1) Hamm’s

detention is mandatory; and 2) 18 U.S.C. §3143(a)(2) applies.

       By no later than Thursday, March 4, 2021, Hamm must file a reply, if any, in support of

his supplemental brief.

       On Tuesday, March 9, 2021 at 11:00 a.m., the Court will hold an in-person hearing in

Courtroom 14-North on Hamm’s [64] Motion for Voluntary Surrender.



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       By no later than Monday, April 5, 2021, Hamm may re-file his Motion for Leave to File

Sentencing Memorandum. If filed, the United States must file a response by no later than Monday,

April 12, 2021. Any reply must be filed by no later than Monday, April 19, 2021.

       On Monday, April 26, 2021 at 1:00 p.m., the Court will hold an in-person sentencing

hearing in Courtroom 14-North.

       So Ordered this 17th day of February 2021.



                                            STEPHEN R. CLARK
                                            UNITED STATES DISTRICT JUDGE




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